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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                           (WESTERN DIVISION)


IN RE MERCY HEALTH ERISA LITIGATION          Civil Action No.: 1:16-cv-00441-SJD




    JOINT DECLARATION OF LAURA R. GERBER, MICHELLE C. YAU AND
   THOMAS R. THEADO IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR FINAL
    APPROVAL OF A CLASS ACTION SETTLEMENT AND FOR AWARD OF
   ATTORNEYS’ FEES AND EXPENSES AND CASE CONTRIBUTION AWARDS




                             EXHIBIT A
            KELLER ROHRBACK, LLP FIRM RESUME
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                                                                           LITIGATION
                                                                           ERISA



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ABOUT KELLER ROHRBACK


Devoted to Justice
       “[Keller Rohrback] has performed an important public service in this action and has done so
       efficiently and with integrity…[Keller Rohrback] has also worked creatively and diligently to obtain a
       settlement from WorldCom in the context of complex and difficult legal questions…” In re WorldCom,
       Inc. ERISA Litigation, No. 02-4816 (S.D.N.Y.) (Judge Cote).


Keller Rohrback’s lawyers excel by being prepared and
persuasive. It’s a simple formula that combines our strengths:
outstanding writing and courtroom skills, together with
unparalleled passion and integrity. We have recovered billions
of dollars for our clients, and have served as lead counsel in
many prominent cases. Our lawyers are widely recognized
as leaders in their fields who have dedicated their careers to
combating corporate fraud and misconduct. We have the talent
as well as the financial resources to litigate against Fortune 500
companies—and do so every day.

Who We Are
Keller Rohrback’s Complex Litigation Group has a national
reputation as the go-to plaintiff’s firm for large-scale, complex
individual and class action cases. We represent employees and retirees, public and private investors, businesses, governments,
and individuals in a wide range of actions, including fiduciary breach, securities fraud, manipulation, and other illegal practices
relating to financial services and products, ERISA, antitrust, whistleblower, environmental, and product liability cases. Our
approach is straightforward—we represent clients who have been harmed by conduct that is wrong, and we litigate with
passion and integrity to obtain the best results possible. Every case is different, but we win for the same reason: we are
persuasive. When you hire us, you hire smart, creative lawyers who are skilled in the courtroom and in negotiations.

Founded in 1919, Keller Rohrback’s over 70 attorneys and 100 staff members are based in six offices across the country in
Seattle, Oakland, Santa Barbara, Phoenix, New York, and Missoula. Over the past century, our firm has built a distinguished
reputation by providing top-notch representation. We offer exceptional service and a comprehensive understanding
of federal and state law nationwide. We also are well known for our abilities to collaborate with co-counsel to achieve
outstanding results—essential skills in large-scale cases in which several firms represent plaintiffs. We pride ourselves on our
reputation for working smartly with opposing counsel, and we are comfortable and experienced in coordinating high-stakes
cases with simultaneous state and federal government investigations.

We have won verdicts in state and federal courts throughout the nation and have obtained judgments and settlements on
behalf of clients in excess of $23.25 billion. Courts around the country have praised our work, and we are regularly appointed
lead counsel in nationally prominent class action cases. Our work has had far-reaching impacts for our clients in a variety of
settings and industries, creating a better, more accountable society.




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EMPLOYEE BENEFITS


                                        Keller Rohrback L.L.P. is a pioneer in litigation under the Employee Retirement
  ATTORNEYS                             Income Security Act of 1974 (ERISA), recovering to date over two billion dollars
  Lynn Lincoln Sarko                    of retirement and other benefits for our clients. And this is not merely a matter
  Laurie Ashton                         of money, as important as that is. Keller Rohrback’s lawyers have worked tirelessly
  Gretchen Freeman Cappio               to shape ERISA law, so that the statute protects the interests of participants and
  T. David Copley                       beneficiaries, rather than their employers and service providers. We have seen time
  Alison Gaffney                        and again fiduciaries attempt to use ERISA to thwart participants’ interests, whether
  Laura R. Gerber                       in the design of 401(k) plans, the structuring of Employee Stock Ownership Plans
  Matthew Gerend                        (ESOPs), the investments in defined benefit plans, or the attempt to read ERISA’s
  Gary Gotto                            exceptions broadly to favor the employers’ and service providers’ interests, not the
  Benjamin Gould                        participants’ interests. We have successfully opposed all these efforts in scores of
  Christopher Graver                    cases.

  Dean N. Kawamoto
                                        Keller Rohrback attorneys have done this since the statute was enacted in 1974. In that
  Ron Kilgard                           year, David Preminger, of our New York office, wrote two of the first scholarly articles
  David Ko                              on ERISA. Jeff Lewis, across the country and now in our Oakland office, began practice
  Tanya Korkhov                         the year after ERISA was adopted and has been representing plaintiffs in pension
  Cari Campen Laufenberg                and other benefit matters ever since. He served for many years as the co-chair of
  Elizabeth A. Leland                   the Board of Senior Editors of Employee Benefits Law, the major ERISA practitioner’s
  Jeffrey Lewis                         treatise, used daily by benefits lawyers throughout the country. David and Jeff are
  Derek Loeser                          only two of our ERISA lawyers, albeit the most senior. We have a very deep bench in
  Ian Mensher                           ERISA matters. Lawyers at Keller Rohrback have testified before Congress, served as
  Rachel Morowitz                       editors of numerous employee benefits books and manuals, and written scholarly
  Gretchen Obrist                       ERISA articles, amicus briefs, and comments to regulatory agencies overseeing ERISA
  David Preminger                       plans. We frequently are invited to make presentations at national legal education
                                        seminars regarding employee benefit class actions and ERISA. We have also served
  Erin Riley
                                        as fiduciaries and mediators.
  Karin B. Swope
  Havila C. Unrein                       We are involved in all aspects of ERISA litigation, from administrative reviews to
  Amy Williams-Derry                    district court trials to circuit court appeals to handling cases and filing amicus briefs
                                        in the U.S. Supreme Court. We are proud of our history, but we don’t rest on our
                                        laurels, we listen carefully to employees’ stories and craft cases that enforce ERISA’s
                                        longstanding duties—which are the highest known to the law.

Attorneys at Keller Rohrback have pioneered application of ERISA to the evolving manifestations of waste and abuse affecting
retirement savings nationwide. For example, Gary Gotto and Ron Kilgard brought the first successful defined contribution
company stock case, Whetman v. IKON Office Solutions, spawning an entire area of litigation that resulted in billions of dollars
being recovered around the country for employees and their retirement plans. Keller Rohrback’s Managing Partner and
Complex Litigation Group Leader, Lynn Sarko, along with Derek Loeser, Erin Riley, and many others, pushed this area of
the law forward with the WorldCom and Enron ERISA class actions—the latter of which resulted in the largest settlement in
such a case, at over $264 million. More recently, we have led the charge with private ESOP, church plan, and our 401k plan
cases challenging excessive and conflicted fees. We have even represented public employees in successfully striking down as
unconstitutional cut-backs to their retirement benefits.




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EMPLOYEE BENEFITS


Keller Rohrback is routinely appointed lead or co-lead counsel in major employee benefit class actions. Our work in this
complex and rapidly developing area has been praised by our clients, our co-counsel, and federal courts throughout the
country. Keller Rohrback has excelled in managing complex employee benefits cases by developing a deep understanding of
employee benefits law and by drawing on our attorneys’ experience in numerous related practice areas, including securities,
accounting, corporate, insurance coverage, bankruptcy, financial institution regulation, mergers and acquisitions, contracts,
employment law, executive compensation, professional malpractice, constitutional law, and class action law.

We are proud to represent employees in connection with their retirement and other benefits. The following pages summarize
the breadth of our expertise and experience in these areas.




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EMPLOYEE BENEFITS


PENSION PLANS
Congress enacted ERISA in light of several highly publicized
failures of private pension plans which left long-term
employees at the end of their careers without their
promised benefits. ERISA “seek[s] to ensure that employees
will not be left empty-handed once employers have guaranteed
them certain benefits.” Lockheed Corp. v. Spink, 517 U.S. 882,
887 (1996). Attorneys at Keller Rohrback have filed numerous
cases on behalf of ERISA plan participants in order to make
sure that the fiduciaries manage the plans’ assets prudently
and that pensioners and their beneficiaries receive the benefits that they were promised. Keller Rohrback further supports
ERISA pension plan participants and beneficiaries through writing amicus briefs related to pension issues. E.g., Brief for The
Pension Rights Center as Amicus Curiae in Support of Respondent, Spokeo, Inc. v. Robins, No. 13-1339 (U.S.); Brief for the
Pension Rights Center as Amicus Curiae in Support of Petitioner, Pundt v. Verizon Communications, Inc., No. 15-785 (U.S.).

REPRESENTATIVE CASES
Mertens v. Kaiser Steel Retirement Plan, 829 F. Supp. 1158 (N.D. Cal.)
A firm attorney served as co-counsel for a putative class of retirees of Kaiser Steel whose benefits were drastically reduced
when the plan was terminated in an underfunded position. Plaintiff alleged that following an outside takeover of Kaiser, the
company systematically underfunded the company’s pension plan so that the new owners could instead take profits from
the company. The lawsuit also alleged that the Kaiser retirement plan’s actuaries also contributed to the underfunding by
committing malpractice. The court held that the malpractice claims against the actuaries were not preempted by ERISA. The
case ultimately settled, resulting in the payments of millions of dollars to the class members.

Canseco v. Construction Laborers Pension Trust, 93 F.3d 600 (9th Cir.)
A firm attorney served as co-counsel for a class of pension plan retirees in a case challenging the plan’s failure to pay
retroactive benefits to retirees who were eligible for full benefits under the plan, but did not immediately apply for their
benefits. The U.S. court of appeals’ opinion reversed the district court’s judgment for defendants and resulted in the payment
of millions of dollars in retroactive benefits to class members. The case also established the principle that it is an abuse of
discretion for a plan fiduciary to interpret a plan contrary to its plain meaning.

McDaniel v. National Shopmen Pension Fund, 889 F.2d 804 (9th Cir.)
A firm attorney served as co-counsel for a class of pension plan participants in a case challenging the plan’s reduction in
vested benefits based on the fact that their employer had withdrawn from the plan. The Ninth Circuit held that the reduction
was improper and benefits were restored to the participants.
Kayes v. Pacific Lumber Co., 51 F.3d 1449 (9th Cir.)
A firm attorney served as co-counsel for a class of retirees and employees of Pacific Lumber Co. The complaint alleged
that defendants’ selection of Executive Life Insurance Company to provide annuities to pension plan participants (upon
termination of the plan) violated ERISA’s fiduciary standards. The Ninth Circuit decision upheld plaintiffs’ standing to pursue
the claims, affirmed the lower court finding that defendant corporate officers were fiduciaries, and broadly defined term
“plan asset” for purposes of ERISA’s prohibited transaction provisions. On remand, the case settled, resulting in the payment
of approximately $7 million to the class.


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EMPLOYEE BENEFITS


PENSION PLANS
Cleary v. Retirement Plan for Employees of Northern Montana Hospital, No. 16-00061 (D. Mont.)
Keller Rohrback brought this class action on behalf of the participants in, and/or beneficiaries of, the Retirement Plan for
Employees of Northern Montana Hospital. The complaint alleges that the members of these classes have been, or will be
denied, certain retirement benefits to which they are entitled under the terms of the Plan and/or ERISA with respect to vesting
and accrual of benefits. The complaint also alleges that Defendants failed to comply with ERISA’s rules for claims procedures.
A settlement on behalf of 175 people whose benefits were miscalculated and injunctive relief concerning claims procedures
and recordkeeping has been preliminary approved. The Final Approval Hearing is scheduled for November 7, 2018.
Judy Hunter v. Berkshire Hathaway, Inc., No. 14-663 (N.D. Tex.)
Keller Rohrback serves as co-counsel in this class action filed on behalf of the participants and beneficiaries of two ERISA
plans: a pension plan and a 401(k) plan. The complaint alleges that the corporate parent company caused its subsidiary
to reduce future benefits despite explicit plan language prohibiting that action. The trial court initially granted Berkshire
Hathaway’s motion to dismiss, but on appeal Keller Rohrback persuaded the United States Court of Appeals for the Fifth
Circuit to reverse and remand. The case is currently headed towards trial.
Fletcher v. ConvergEx, No. 13-9150 (S.D.N.Y.)
Keller Rohrback serves as co-counsel in this lawsuit filed in the Southern District of New York that alleges Defendants violated
ERISA by “double-charging” for transition management and brokerage services. Defendants funneled trade orders to an
offshore subsidiary broker located in Bermuda, which created a “spread” between the actual price and the reported price by
adding mark-ups/mark downs. While the reported price was confirmed with customers, the actual prices were undisclosed
and unauthorized additional compensation. After the trial court dismissed the case, the United States Court of Appeals for
the Second Circuit reversed and reinstated plaintiffs’ claims. The case is back in front of the district court.
Monper v. Boeing, No. 13-1569 (W.D. Wash.)
Keller Rohrback served as Counsel in this lawsuit that alleged Defendants violated ERISA by misrepresenting to plaintiffs
that their pension benefit accruals would not change if they transferred their work locations from California to Washington.
In re Bakery & Confectionery Union & Industry Int’l Pension Fund Pension Plan, No. 11-1471
(S.D.N.Y.)
Keller Rohrback and co-counsel filed this action alleging that an amendment to the Bakery & Confectionery Union & Industrial
Pension Fund Pension Plan violated ERISA’s anti-cutback provisions. Plaintiffs prevailed at both the district court and appellate
levels, and Defendants implemented adjustments to reinstate the benefits due to eligible employees.
Palmason v. Weyerhaeuser, No. 11-695 (W.D. Wash.)
Keller Rohrback and co-counsel filed this action alleging that Weyerhaeuser and other fiduciaries caused its pension plan to
engage in a risky investment strategy involving alternative investments and derivatives, causing the Plans’ master trust to
become underfunded. A settlement was reached for injunctive relief on behalf of the Plans’ participants and beneficiaries.
Buus v. WaMu Pension Plan, No. 07-903 (W.D. Wash.)
Keller Rohrback served as Lead Counsel in this class action on behalf of participants and beneficiaries of Washington Mutual’s
defined benefit pension plan whose benefit accrual was frozen under the existing pension formula and replaced with a new
“cash balance plan” accrual system that reduced the rate of future benefit accrual. In conjunction with Washington Mutual’s
bankruptcy proceedings, a settlement of $20 million was approved.



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EMPLOYEE BENEFITS


PENSION PLANS: CHURCH PLANS
For certain employees participating in pension
plans, ERISA does not apply. If a plan is not subject
to ERISA, there is no federal law requiring a sponsor
to keep funding the plan or requiring participants to
get timely and accurate information about the plan,
and there is no pension benefit insurance through the
Pension Benefit Guaranty Corporation (PBGC). One of
the few kinds of plans exempt from ERISA is the “church
plan.” For years, Keller Rohrback has been representing
employees in federal lawsuits against large healthcare
companies that claim their pension plans are “church
plans.” The employees in the plans all work for large
healthcare organizations, hospital systems, and their
affiliates. These healthcare organizations are non-profit
corporations, but they often have assets on par with
Fortune 100 companies. The lawsuits ask the courts to determine that these pension plans are not “church plans” at all, force
the employers to properly fund the plans, and give their employees the safety and security of ERISA protections.


REPRESENTATIVE CASES
Griffith v. Providence Health & Services, No. 14-01720 (W.D. Wash.)
Keller Rohrback served as Class Counsel in this lawsuit alleging that the Providence Health & Services Cash Balance Retirement
Plan was improperly claiming an exemption from ERISA as a “church plan.” In 2017, the Court granted final approval of a class
settlement of $350 million to the Plan and a guarantee that the Plan’s trust will have sufficient assets to pay benefits as they
come due; and additional administrative protections and other equitable relief for Plan participants.

Hodges v. Bon Secours Health System, Inc., No. 16-01079 (D. Md.)
Keller Rohrback served as co-counsel in this lawsuit alleging that Bon Secours Health System’s seven defined benefit pension
plans were improperly claiming an exemption from ERISA as “church plan(s).” In 2017, the Court granted final approval of a
settlement providing for equitable relief, plus payment of over $98 million to the Plans.

Lann v. Trinity Health Corporation, No. 14-02237 (D. Md.)
Keller Rohrback served as Class Counsel in this lawsuit alleging that Trinity Health Corporation and Catholic Health East were
improperly claiming an exemption from ERISA as “church plan.” In 2017, the Court granted final approval of a settlement
providing for equitable relief, plus payment of over $76 million to the Plan.

Garbaccio v. St. Joseph’s Hospital & Medical Center & Subsidiaries, No. 16-02740 (D.N.J.)
Keller Rohrback served as Class Counsel in this lawsuit alleging that the St. Joseph’s Hospital and Medical Center Plan was
improperly claiming an exemption from ERISA as a “church plan.” On March 6, 2018, the Court granted final approval of a
settlement providing for equitable relief, plus payment of over $42.5 million to the Plan.




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EMPLOYEE BENEFITS


PENSION PLANS: CHURCH PLANS
In re Wheaton Franciscan ERISA Litigation, No. 16-04232 (N.D. Ill.)
Keller Rohrback served as Class Counsel in this lawsuit alleging that the Wheaton Franciscan System Retirement Plan was
improperly claiming an exemption from ERISA as a “church plan.” On January 16, 2018, the Court granted final approval of a
settlement providing for equitable relief, plus a guarantee payment of the first $29.5 million of benefits that are distributable
from the Plan to Class Members in the event trust assets attributable to the Plan become insufficient to pay such benefits.

Carver v. Presence Health Network, No. 15-02905 (N.D. Ill.)
Keller Rohrback served as Class Counsel in this lawsuit alleging that Defendants improperly claimed an exemption from
ERISA as a “church plan.” On July 10, 2018, the Court granted final approval of a settlement providing for equitable relief, plus
a guarantee of payment of the first $20 million of benefits that are distributable from the Plans’ trusts to Settlement Class
members if either of the Plans is unable to pay such benefits.

Stapleton v. Advocate Health Care Network, No. 14-01873 (N.D. Ill.)
Keller Rohrback served as Class Counsel in this lawsuit alleging that Defendants improperly claimed an exemption from
ERISA as a “church plan” for the Advocate Health Care Network Pension Plan. On June 27, 2018, the Court granted final
approval of a settlement providing for equitable relief, plus a guarantee that the Plan trust will have sufficient funds to pay
the level of accrued benefits stated in the Plan for the period of ten (10) years.

In re Mercy Health ERISA Litigation, No. 16-00441 (S.D. Ohio)
Keller Rohrback served as counsel in this lawsuit alleging that Defendants improperly claimed an exemption from ERISA
as a “church plan” for the Mercy Pension Plans. On August 8, 2018, the Court granted preliminary approval of a settlement
providing for equitable relief, a guarantee that the Plans’ trusts will have sufficient funds to pay benefits for a period of nine
(9) years, and a payment to certain settlement class members who took lump sum distributions.

Holcomb v. Hospital Sisters Health System, No. 16-03282 (C.D. Ill.)
Keller Rohrback served as Co-Lead Counsel in this lawsuit alleging that Defendants improperly claimed an exemption from
ERISA as a “church plan” for the Hospital Sisters’ Pension Plan. On June 8, 2018, Plaintiffs filed a motion for preliminary
approval of a settlement providing for equitable relief, plus a guarantee of funding accrued benefits through fiscal year 2022,
or as such time as $62.5 million has been contributed to the Plan.

OTHER CURRENT CHURCH PLAN CASES
Rollins v. Dignity Health, No. 13-01450 (N.D. Cal.)
Kaplan v. Saint Peter’s Healthcare, System, No. 13-02941 (D.N.J.)
Owens v. Saint Anthony Medical Center, Inc., No. 14-04068 (N.D. Ill.)
Cappello v. Franciscan Alliance, Inc., No. 16-00290 (N.D. Ind.)
Feather v. SSM Health, No. 16-00393 (S.D. Ill.)
Smith v. OSF Healthcare System, No. 16-00467 (S.D. Ill.)
Sanzone v. Mercy Health, No. 16-00923 (E.D. Mo.)


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EMPLOYEE BENEFITS


401(K) & SAVINGS PLANS: COMPANY STOCK & PUBLIC ESOPs
ERISA sets minimum standards for the management of employer-sponsored retirement and health benefit plans.
Workers and retirees across America depend on their company-sponsored benefit plans to provide them with health
insurance and financial security after retirement. Keller Rohrback is a pioneer in ensuring that ERISA’s fiduciary duties of
prudence and loyalty apply to all plan investment options, including company stock. Ensuring fiduciary responsibility over
company stock funds is of paramount importance, given that an employee’s livelihood is also tied to the well-being of their
employer—thus, if an employer’s stock collapses, employees can lose their jobs at the same time that their retirement
savings is decimated.

Keller Rohrback’s work in this area resulted in numerous pivotal judicial opinions. E.g., In re WorldCom, Inc., 263 F. Supp. 2d
745 (S.D.N.Y.); In re Enron Corp. Sec., Derivative & “ERISA” Litig., 284 F. Supp. 2d 511 (S.D. Tex.); and In re Syncor ERISA Litig., 516
F.3d 1095 (9th Cir.). Additionally, Keller Rohrback has further supported this area of law through presentations at ERISA
conferences, as well as amicus briefs. E.g., Brief for Law Professors as Amici Curiae in Support of the Respondents, Fifth Third
Bancorp v. Dudenhoeffer, No. 12-751 (U.S.).


REPRESENTATIVE CASES
Whetman v. IKON Office Solutions, Inc., MDL No. 1318 (E.D. Pa.).
The wave of 401(k) company stock cases began with Whetman v. IKON Office Solutions, Inc. In a first-of-its-kind complaint,
we alleged that company stock was an imprudent investment for the plan, that the fiduciaries of the plan failed to provide
complete and accurate information concerning company stock to the participants, and that they failed to address their
conflicts of interest. This case resulted in ground-breaking opinions in the ERISA 401(k) area of law on motions to dismiss,
class certification, approval of securities settlements with a carve-out for ERISA claims, and approval of ERISA settlements
providing a total recovery to the Plans of $111 million.

In re Enron Corp. ERISA Litigation, MDL No. 02-1446 (S.D. Tex.)
Keller Rohrback served as Co-Lead Counsel in this class action. After groundbreaking motions to dismiss decisions, and
several years of discovery, Keller Rohrback negotiated five separate settlements with different groups of defendants,
resulting in recoveries of over $264 million for the class.

In re WorldCom, Inc. ERISA Litigation, No. 02-4816 (S.D.N.Y.)
Keller Rohrback served as Lead Counsel and one of the firm’s attorneys served as ERISA counsel in this class action on behalf
of participants and beneficiaries of the WorldCom 401(k) Salary Savings Plan who invested in WorldCom stock. Settlements
providing for injunctive relief and payments of over $48 million to the plan were approved by Judge Denise Cote.

In re Lucent Technologies, Inc. ERISA Litigation, No. 01-3491 (D.N.J.)
Keller Rohrback served as Co-Lead Counsel in this class action brought on behalf of participants and beneficiaries of the
Lucent defined contribution plans who invested in Lucent stock. A settlement providing injunctive relief and the payment of
$69 million to the plan was approved by Judge Joel Pisano.




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EMPLOYEE BENEFITS


401(K) & SAVINGS PLANS: COMPANY STOCK & PUBLIC ESOPs
In re AIG ERISA Litigation, No. 04-09387 (S.D.N.Y.) and In re AIG ERISA Litigation II, No. 08-05722
(S.D.N.Y.)
Keller Rohrback served as Co-Lead Counsel in these two class actions on behalf of participants and beneficiaries of the
AIG 401(k) retirement plans who invested in AIG stock. A settlement providing for the payment of $25 million to the plans
was approved by Judge Kevin T. Duffy in AIG I, and a settlement providing for the payment of $40 million to the plans was
approved by Judge Laura Swain in AIG II.

In re Merrill Lynch & Co., Inc. Securities, Derivative & ERISA Litigation, No. 07-10268 (S.D.N.Y.)
Keller Rohrback served as Co-Lead Counsel in this class action on behalf of participants and beneficiaries of Merrill Lynch’s
defined contribution plans who invested in Merrill Lynch stock. A settlement providing injunctive relief and a payment of $75
million to the plans was approved by Judge Jed S. Rakoff.

Alvidres v. Countrywide Financial Corp., No. 07-5810 (C.D. Cal.)
Keller Rohrback served as Lead Counsel in this class action on behalf of participants and beneficiaries of the Countrywide
401(k) plan who invested in Countrywide stock. A settlement providing for injunctive relief and the payment of $55 million to
the plan was approved by Judge John F. Walter.

In re Washington Mutual, Inc. ERISA Litigation, No. 07-1874 (W.D. Wash.)
Keller Rohrback served as Co-Lead Counsel in this ERISA breach of fiduciary duty class action brought on behalf of participants
and beneficiaries in the company’s retirement plans who invested in Washington Mutual stock. Judge Marsha J. Pechman
granted final approval of a $49 million settlement in the ERISA action.

In re Global Crossing, Ltd. ERISA Litigation, No. 02-7453 (S.D.N.Y.)
Keller Rohrback served as Co-Lead Counsel in this class action on behalf of participants and beneficiaries of the Global
Crossing defined contribution plans who invested in Global Crossing stock. A settlement providing injunctive relief and a
payment of $79 million to the plan was approved by Judge Gerard Lynch.




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EMPLOYEE BENEFITS


401(K) & SAVINGS PLANS: PRIVATE ESOPs
An ESOP is a tax-qualified defined contribution employee benefit plan governed by ERISA. ESOPs are intended to
invest primarily in the stock of the ESOP participant’s employer. Keller Rohrback is a national leader in ESOP cases, and has
substantial experience representing ESOPs in breach of fiduciary actions against trustees who approve or permit transactions
that favor corporate interests to the detriment of the ESOP despite having a fiduciary duty to act in the ESOP’s best interests.
Keller Rohrback’s attorneys have achieved many notable successes for their ESOP clients, including obtaining seven-figure
judgments at trial, and recovering millions of dollars in settlements.

REPRESENTATIVE CASES
Schwartz v. Cook, No. 15-3347 (N.D. Cal.)
Keller Rohrback represented a participant in the Buckles-Smith Electric Company ESOP in this lawsuit that alleged that the
ESOP’s fiduciaries caused Buckles-Smith to redeem the ESOP’s shares in that company for less than they were worth, thereby
benefitting the remaining shareholders (including the ESOP’s fiduciaries) at the expense of the ESOP. The case settled and
final approval was granted on June 15, 2017.

Rader v. Bruister, No. 13-1081 (S.D. Miss.)
This case alleged breach of fiduciary duty and prohibited transactions in connection with the purchase by the Bruister
Company ESOP of shares from its founder. We obtained a judgment for approximately $6.5 million after a lengthy bench
trial. Defendants appealed the judgment, and the Fifth Circuit affirmed. The Fifth Circuit also affirmed the award of attorneys’
fees.

Wagner v. Stiefel Labs., Inc., No. 12-3234 (N.D. Ga.)
Keller Rohrback served as counsel for several ESOP plan participants in this lawsuit that alleged Defendants directed and
approved the repurchase of Stiefel Labs., Inc. stock from ESOP participants and the ESOP at a fraction of the actual fair
market value of Stiefel stock, allowing Defendants to reap a substantially higher portion of the proceeds in a subsequent $3.6
billion sale of the company to GlaxoSmithKline. The case was resolved pursuant to a confidential settlement prior to trial.

Wool v. Sitrick, No. 10-2741 (C.D. Cal.)
Keller Rohrback served as Lead Counsel in this ESOP valuation action brought on behalf of participants and beneficiaries in
the company’s ESOP against Defendants who repurchased shares from the ESOP at a price significantly below fair market
value. A settlement providing a payment $6.25 million settlement was approved by Judge Jacqueline Nguyen.

Johnson v. Couturier, No. 05-2046 (E.D. Cal.)
Keller Rohrback obtained a major victory for participants of the Noll Manufacturing Co. ESOP against Defendants who
awarded themselves grossly excessive compensation at the expense of the ESOP. In a seminal case frequently cited in
ESOP litigation by courts across the country, the Ninth Circuit affirmed a preliminary injunction by the district court which
prohibited an ESOP plan sponsor from paying litigation costs to indemnify the ESOP’s trustees. Johnson v. Couturier, 572 F.3d
1067 (9th Cir.).

Hans v. Tharaldson, No. 05-115 (D.N.D.)
Keller Rohrback served as Lead Counsel for the then-current employees in an ESOP valuation action that alleged the ESOP
paid an excessive price for their shares in a transaction approved by Defendants. A settlement providing for a $15 million
settlement fund, including a $4 million cash payment to all current and former participants and beneficiaries of the ESOP,
and an $11 million credit against the principal owed by the ESOP to the company was approved by Chief Judge Ralph Erikson.


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EMPLOYEE BENEFITS


401(K) & SAVINGS PLANS: EXCESSIVE & IMPROPER FEES
Precious retirement savings—particularly in defined
contribution or 401(k) plans—are vulnerable to being
whittled away by fees associated with investment
products. There are as many types of fees as investment
products available to retirement plans. Many fees are
hidden or undisclosed. Some fees are paid directly
by participants, while others are levied indirectly as
kickbacks from one service provider or fiduciary to
another. In many cases, these fees are charged for
improper purposes—to enrich plan fiduciaries or service
providers at the expense of hard-working Americans.
High fees over time can slash retiree balances by a third,
or more. No matter who pays or collects excessive fees
or conflicted fees, ERISA provides robust protections and
remedies. Specifically, ERISA prohibits fiduciaries from self-dealing and any conduct that puts their own interests—or the
interests of their affiliates or third parties—above those of the plan participants to whom they owe fiduciary duties.

Keller Rohrback has successfully litigated ERISA class actions challenging excessive and conflicted fees. Our attorneys have
challenged investments that contain many layers of securities and insurance products—and many layers of fees. We have
pursued on a class action basis not only claims against multiple entities responsible for the fees charged to participants in a
single plan, but also uniform fees charged by service providers to thousands of plans using common investment products.

Keller Rohrback has been selected by federal courts to serve as lead or co-lead counsel in class action cases challenging
excessive and self-dealing fees. We have written articles and presented on these topics, and we authored an amicus brief in
the first ERISA excessive fee case to reach the U.S. Supreme Court. See Brief for Law Professors as Amici Curiae in Support of
the Petitioners, Tibble, et al. v. Edison International, et al., No. 13-550 (U.S.).


REPRESENTATIVE CASES
Braden v. Wal-Mart Stores, Inc., No. 08-3109 (W.D. Mo.)
Keller Rohrback served as Lead Counsel in this class action on behalf of participants and beneficiaries of Wal-Mart’s 401(k)
plan who invested in retail class mutual funds that charged excessive fees to participants and paid hidden fees to the plan’s
trustee and recordkeeper, Merrill Lynch. The complaint alleged that the revenue sharing and the other fees were excessive
in light of the size of the plan, and that these fees were not properly disclosed. Keller Rohrback’s attorneys secured the
first appellate victory in a fee case of this kind when they obtained an order from the Eighth Circuit reversing dismissal
and articulating the pleading standard for process-based breaches of ERISA, see Braden v. Wal-Mart, 588 F.3d 585 (2009). A
settlement that included $13.5 million along with injunctive relief was approved by Judge Gary A. Fenner.




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EMPLOYEE BENEFITS


401(K) & SAVINGS PLANS: EXCESSIVE & IMPROPER FEES
Beach v. JPMorgan Chase Bank, No. 17-563 (S.D.N.Y.)
Plaintiffs allege that JPMorgan Chase Bank (Chase) breached its fiduciary duties to the participants and beneficiaries of
the JPMorgan Chase 401(k) Savings Plan (Plan) in violation of ERISA by, among other things, failing to prudently and loyally
manage the Plan’s assets by selecting and retaining unduly expensive Core Funds and Target Date Funds as investment
options in the Plan and by engaging in prohibited transactions as a result of conflicts of interest. Defendants’ motion to
dismiss was largely denied. The case is now in the discovery phase.

In re Regions Morgan Keegan ERISA Litigation, No. 08-2192 (W.D. Tenn.)
Keller Rohrback served as Co-Lead Class Counsel in this ERISA breach of fiduciary duty class action on behalf of participants
and beneficiaries in the company’s retirement plans as well as customer plans for which Regions served as a fiduciary. A
settlement providing injunctive relief and a payment of $22.7 million was approved by Judge Samuel H. Mays, Jr.




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EMPLOYEE BENEFITS


401(K) & SAVINGS PLANS: IMPRUDENT INVESTMENTS
Many times ERISA plans end up in high-risk or other patently imprudent investments due to breaches by the plans’
fiduciaries. Depending on the structure of the investment, fiduciaries may have been incentivized by the fees that could
be generated to invest plan assets in investments that are simply unacceptably risky for ERISA plans. Keller Rohrback has
successfully litigated and resolved numerous cases challenging fiduciaries’ imprudent investment of plan assets in high risk
investment strategies.


REPRESENTATIVE CASES
Madoff Direct & Feeder Fund Litigation: Hartman v. Ivy Asset Management LLC, No. 09-8278
(S.D.N.Y.)
Keller Rohrback successfully litigated this direct action on behalf of the trustees of seventeen employee benefit plans
damaged by the Madoff Ponzi scheme. The action alleged that Ivy Asset Management and J.P. Jeanneret Associates, Inc.
breached their fiduciary duties under ERISA by causing the plans to be invested directly or indirectly in Madoff funds. Keller
Rohrback obtained a settlement of over $219 million in this case and related actions, including claims brought by the United
States Secretary of Labor and the New York Attorney General.

In re State Street Bank and Trust Co. ERISA Litigation, No. 07-08488 (S.D.N.Y.)
Keller Rohrback served as Co-Lead Counsel in this ERISA case brought on behalf of participants and beneficiaries in a class of
retirement plans that had invested in State Street’s fixed income bond funds. Plaintiffs alleged that State Street, investment
manager of the bond funds, had imprudently invested the purportedly conservative funds in high-risk and/or highly leveraged
financial instruments tied to mortgage-backed securities. A settlement providing a payment of $89.75 million was approved
by Judge Richard J. Holwell.




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EMPLOYEE BENEFITS


401(K) & SAVINGS PLANS: FOREIGN CURRENCY TRADING
Foreign exchange is a necessary component of all international investment transactions, yet the foreign exchange
market is one of the least transparent and least regulated of the international markets. The large banks and other
financial institutions that make up this market act as market-makers and trade currencies amongst each other in this
$5.3 trillion-a-day market. The lack of regulation in the marketplace makes it easy for the banks to manipulate transactions
and the rates at which they are effected to the banks’ advantage—at the expense of their clients. Keller Rohrback’s practice
has encompassed a range of foreign exchange trading abuses faced by both institutional investors and participants and
beneficiaries of retirement plans.


REPRESENTATIVE CASES
Farrell v. JPMorgan Chase & Co., No. 16-2627 (S.D.N.Y.) / In re Foreign Exchange Benchmark
Rates Antitrust Litigation, No. 13-7789 (S.D.N.Y.)
The complaint alleges that JPMorgan Chase, who sponsored collective investment trusts or provided asset management in
connection with foreign investments requiring securities exchange, engaged in a world-wide foreign currency manipulation
scheme spanning a decade. The complaint also alleges that JPMorgan is therefore a fiduciary to hundreds of ERISA plans
affected by this scheme. The multi-bank scheme is subject to antitrust and commodities act claims as well. Numerous banks,
including JPMorgan, have settled the related price-fixing case for over $2 billion thus far. Keller Rohrback is currently serving
as ERISA Allocation Counsel with regard to these partial settlements.

Andover Cos. Emp. Savings & Profit Sharing Plan v. State Street Bank & Trust Co., No. 12-11698
(D. Mass.)
This complaint was filed on behalf of a class of all qualified ERISA plans, and their participants, beneficiaries, and named
fiduciaries, who suffered losses as a result of State Street Bank and Trust Company’s alleged deceptive acts and practices
concerning hidden charges for foreign currency exchange transactions between 1998 and 2009. Plaintiffs allege that State
Street improperly marked up or marked down currency transactions, and engaged in ERISA prohibited transactions when it
failed to disclose fully the details of the foreign currency transactions it was undertaking on behalf of the Plans. A settlement
of $300 million was approved on behalf of the consumer claims and the ERISA claims by Judge Mark L. Wolf.

Bank of New York Mellon Corp. Forex Transactions Litigation, No. 12-2335 (S.D.N.Y.)
Keller Rohrback served as counsel in this foreign currency exchange transaction class action, representing qualified ERISA
participants and beneficiaries on behalf of their respective plans. Judge Lewis A. Kaplan granted final approval of a global
resolution of the private and governmental enforcement actions against BNY Mellon in which $504 million will be paid back
to BNY Mellon customers (and $335 million of which is directly attributable to the class litigation).




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EMPLOYEE BENEFITS


WELFARE PLANS
In addition to retirement plans, ERISA also governs how employee health care plans are administered. ERISA creates
fiduciary responsibilities for those who manage and control health plans, requires that plans provide participants with
accurate plan information, and gives plan participants the right to sue for benefits and breaches of fiduciary duty. Therefore,
health care plans must be operated in compliance with ERISA’s particular standards that were designed to protect the
interests of employees, retirees, and other plan beneficiaries, such as family members.

REPRESENTATIVE CASES
Dobson v. Hartford Financial Services Group, Inc., 389 F. 3d 386 (2d Cir.)
A firm attorney served as co-counsel for a putative class of participants in ERISA-covered long-term disability plans challenging
Hartford’s failure to pay interest on retroactive payments it made to disabled participants after those participants were
successful in using the plan’s internal review procedure and obtaining reversals of claim denials. The district court granted
the named plaintiff’s claims on one of his legal theories, but denied class certification and rejected other claims. The court of
appeals reversed in these latter respects. After remand and further proceedings in both the district and appeals court, the
case settled. The settlement provided for future payment of interest on claims where appeals were favorably decided and
for some retroactive payments.

In re Express Scripts / Anthem ERISA Litigation, No. 16-3399 (S.D.N.Y.)
Keller Rohrback serves as interim Co-Lead Counsel in this class action filed on behalf of both plan fiduciaries and all
participants and beneficiaries of Anthem-insured ERISA plans and self-insured ERISA plans against both Anthem and Express
Scripts, Inc. (ESI) for breaches of fiduciary duty and prohibited transactions under ERISA. ESI serves as the exclusive Pharmacy
Benefit Manager (PBM) to Anthem-insured and -administered plans under a ten-year agreement, and the claims arise out
of Defendants’ practice of overcharging the class for pharmaceutical drugs. The case is pending before the Second Circuit
Court of Appeals.

In re Cigna Corp. PBM Litigation, No. 16-1702 (D. Conn.)
Keller Rohrback serves on the Plaintiffs’ Executive Committee in this ERISA and RICO case against Cigna, its affiliates, and
its primary external Pharmacy Benefit Manager (PBM) OptumRx. Plaintiffs here allege that Cigna and its PBMs engage in a
“Clawback Scheme” where patients are overcharged for their prescription medications above and beyond the negotiated
price of the drug or the retail cash price of the drug charged to someone without health insurance, while Defendants keep
the overcharges. Plaintiffs prevailed in large part on Defendants’ motion to dismiss in an order issued in March 2018.




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EMPLOYEE BENEFITS


WELFARE PLANS
Gates v. United Health, No. 11-3487 (S.D.N.Y.)
Keller Rohrback served as counsel in this lawsuit that alleged Defendants violated ERISA through use of an “estimating policy”
which caused Medicare eligible participants and beneficiaries to be paid lower benefits than required by the plan in which
they participate for services provided by out-of-network providers. Following an initial dismissal, Keller Rohrback successfully
appealed to the Second Circuit Court of Appeals, and the district court then agreed with Plaintiff.

Turpin v. Consolidated Coal Company, No. 99-1886 (W.D. Pa.)
A firm attorney served as co-counsel for plaintiff in a case alleging that a Blue Cross entity’s use of computer-generated
Explanation of Benefits (EOB) forms violated ERISA regulations guaranteeing plan participants a full and fair review of their
claims. The class action settlement resulted in significant changes to the forms, including detailed information as to how
participants could appeal claim denials and reform of the forms’ denial codes so that they were more understandable to the
class members.




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ERISA APPELLATE PRACTICE


ERISA appeals require specialized skills and experience, and Keller Rohrback has a seasoned appellate team that
includes award-winning brief writers and outstanding oral advocates. Our ERISA appellate expertise is particularly
important in large cases, including complex class actions. Keller Rohrback has the experience and talent to handle any issue
that arises involving interlocutory appeals and will work to ensure that any judgment or settlement is affirmed on appeal.

REPRESENTATIVE CASES
Fletcher v. ConvergEx Group, L.L.C., No. 13-9150, 2017 WL 549025 (2d Cir.)
Keller Rohrback serves as co-counsel in this lawsuit filed in the Southern District of New York that alleges Defendants violated
ERISA by “double-charging” for transition management and brokerage services. After the trial court mistakenly dismissed the
case, the Second Circuit reversed and reinstated plaintiffs’ claims.

Hunter v. Berkshire Hathaway Inc., 829 F.3d 357 (5th Cir.)
Keller Rohrback represented retirement plan participants against Acme Brick Company and its sole owner, Berkshire
Hathaway Inc., to enforce Berkshire Hathaway’s promise, when it acquired Acme, not to cause Acme to reduce retirement
plan benefits. At Keller Rohrback’s urging, the Fifth Circuit determined that Berkshire Hathaway could be liable for that
promise and reversed the trial court’s dismissal of claims against Berkshire Hathaway.

Rader v. Bruister, 823 F.3d 250 (5th Cir.)
Keller Rohrback obtained a judgment for approximately $6.5 million after a lengthy bench trial on ERISA breach of fiduciary
duty and prohibited transaction claims. Defendants appealed the judgment, and the Fifth Circuit affirmed. The Fifth Circuit
also affirmed the award of attorneys’ fees.

Alcantara v. Bakery & Confectionary Union, 751 F.3d 71 (2d Cir.)
Keller Rohrback successfully defended the trial court’s decision and judgment that Defendants had unlawfully reduced
pension benefits.

Wurtz v. Rawlings Co., 761 F.3d 232 (2d Cir.)
Keller Rohrback filed an amicus brief on behalf of the New York State Trial Lawyers Association, arguing that ERISA did not
preempt a New York state law. The Second Circuit agreed with the position advanced by Keller Rohrback and adopted the
reasoning and even some of the language of its amicus brief.

Gates v. UnitedHealth Group Inc., 561 F. App’x 73 (2d Cir.)
Keller Rohrback persuaded the Second Circuit to reverse the district court’s dismissal of our client’s claims for medical
coverage.

Braden v. Wal-Mart Stores, Inc., 588 F.3d 585 (8th Cir.)
Keller Rohrback represented a class of Wal-Mart employees who alleged that Wal-Mart’s 401(k) plan charged them excessive
fees and convinced the Eighth Circuit to reverse the trial court and reinstate the employees’ claims.




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ERISA APPELLATE PRACTICE


Johnson v. Couturier, 572 F.3d 1067 (9th Cir.)
Keller Rohrback obtained a major victory for participants of an ESOP after Defendants awarded themselves grossly excessive
compensation at the expense of the ESOP. On appeal, the Ninth Circuit affirmed a preliminary injunction by the district
court which prohibited an ESOP plan sponsor from paying litigation costs to indemnify the ESOP’s trustees. The opinion is
frequently cited in ESOP litigation by courts across the country.

In re Syncor ERISA Litigation, 516 F.3d 1095 (9th Cir.)
Keller Rohrback represented a group of workers who alleged that their employer had violated the law by investing their
retirement savings in the employer’s stock. Keller Rohrback convinced the Ninth Circuit to reverse the dismissal of the trial
court and reinstate the workers’ claims.

Tatum v. RJR Pension Investment Committee, 392 F.3d 636 (4th Cir.) and 761 F.3d 346 (4th Cir.)
Attorney Jeff Lewis persuaded the Fourth Circuit to affirm the trial court’s decisions that fiduciaries of the R.J. Reynolds
401(k) plan breached their fiduciary duties and that the breaching fiduciaries bore the burden of proof with respect to loss
causation. Mr. Lewis further successfully persuaded the Fourth Circuit that the trial court applied an incorrect legal standard
in concluding that the breach did not cause the plan’s losses.




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                                    Lynn Lincoln Sarko is a master strategist and litigator who leads Keller
                                    Rohrback’s nationally-recognized Complex Litigation Group. One of the
                                    nation’s top attorneys in complex litigation, Lynn does not just help clients
                                    win—he helps them win what they want. Through smart, efficient strategy
                                    and tailored, creative problem solving, Lynn and his team accomplish the best
                                    outcomes while minimizing costs and maximizing value.
                                    Lynn’s diverse experience enables him to think outside the box to resolve
                                    complex cases. He regularly interacts with international business interests,
                                    representing sovereign nations and institutional clients seeking to recover
                                    investment losses caused by financial fraud and other malfeasance. He
                                    is currently involved in several matters involving complex derivatives and
                                    specialty investment products. Lynn is the driving force behind Keller
                                    Rohrback’s membership with the Sovereign Wealth Fund Institute, a global
LYNN LINCOLN                        organization of leading asset managers and service providers engaged in the
SARKO                               public investor community. He represents clients with regard to regulatory
                                    investigations and issues involving state and federal supervisory agencies and
                                    has litigated actions involving several of the nation’s largest accounting and
CONTACT INFO                        investment firms. Lynn is part of the team representing the City of Tacoma in
1201 Third Avenue, Suite 3200       its fight to hold opioid manufacturers accountable.
Seattle, WA 98101                   Lynn has led the firm’s securities and retirement fund practice for over 25
(206) 623-1900                      years and regularly serves as lead counsel in multiparty individual and class
                                    action cases involving ERISA, antitrust, securities, breach of fiduciary duty and
lsarko@kellerrohrback.com
                                    other investment fraud issues. Other law firms often hire him as settlement
                                    counsel in these and other complex cases because of his reputation as
PRACTICE EMPHASIS
                                    a skilled negotiator. His successes in this area include multimillion dollar
•   Antitrust & Trade Regulation    settlements in the IKON, Anicom, United Companies Financial Corp., and the
•   Appeals                         Enron, WorldCom, Global Crossing, Health South, Delphi, Washington Mutual,
•   Class Actions                   Countrywide, Lucent, Merrill Lynch, and Xerox consolidated pension and
•   Constitutional Law              retirement plan cases.
•   Commodities & Futures           In addition, Lynn was appointed to the Plaintiffs’ Steering Committee for In re
    Contracts                       Chrysler-Dodge-Jeep Ecodiesel Marketing, Sales Practices, and Products Liability
•   Consumer Protection             Litigation. Previously, Lynn served as one of the negotiators in the $15 billion
•   Data Breach                     Volkswagen Diesel Emissions Fraud class action settlement for 2.0-liter
•   Employment Law                  vehicles, the largest auto-related consumer class action settlement in U.S.
•   Environmental Litigation        history, as well as the 3.0-liter settlement.
•   Employee Benefits &             Courts and professional organizations have honored Lynn for his work on
    Retirement Security             financial, fiduciary duty, consumer and numerous other high-profile public
•   Financial Products & Services   cases. After serving as trial counsel in the Exxon Valdez Oil Spill case, which
•   Government & Municipalities     resulted in a $5 billion punitive damages verdict, Lynn was appointed by the
•   Institutional Investors         court as Administrator for all funds recovered. He prosecuted the Microsoft
•   Intellectual Property           civil antitrust case, Vitamin price-fixing cases, the MDL Fen/Phen Diet Drug
•   International Law               Litigation, and notable public service lawsuits such as Erickson v. Bartell Drug
                                    Co., which established a woman’s right to prescription contraceptive health
•   Mass Personal Injury
                                    coverage.
•   Securities & Financial Fraud
                                    Before joining Keller Rohrback, Lynn was an Assistant United States Attorney
•   Whistleblower




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for the District of Columbia, Criminal Division, an associate      1986, U.S. District Court for the Eastern District of
at the Washington, D.C. office of Arnold & Porter, and law         Washington
clerk to the Honorable Jerome Farris, United States
Court of Appeals for the Ninth Circuit, in Seattle. He has         1986, Washington
been the managing partner of Keller Rohrback since 1991.
                                                                   1986, U.S. Court of Appeals for the First Circuit
Lynn appears in federal courts from coast to coast,
maintaining an active national litigation practice. He             1988, U.S. District Court for the Eastern District of
counsels and represents consumers, employees and                   Wisconsin
businesses who have suffered harm resulting from the
improper disclosure of proprietary, personal, health and           1996, U.S. District Court for the Western District of
                                                                   Wisconsin
other protected information.
                                                                   2001, U.S. Court of Appeals for the Third Circuit

EDUCATION                                                          2002, U.S. District Court for the Eastern District of
                                                                   Michigan
University of Wisconsin
                                                                   2003, U.S. Court of Appeals for the Fifth Circuit
B.B.A., 1977
                                                                   2003, U.S. Court of Appeals for the Eleventh Circuit
University of Wisconsin
                                                                   2004, U.S. District Court for the Northern District of Illinois
M.B.A., 1978, Beta Alpha Psi
                                                                   2008, U.S. Court of Appeals for the Eighth Circuit
University of Wisconsin
                                                                   2009, U.S. Court of Appeals for the Sixth Circuit
J.D., 1981, Order of the Coif; Editor-in-Chief, Wisconsin Law
Review; Salmon Dalberg Award (outstanding graduate)                2010, U.S. District Court for North Dakota

                                                                   2013, U.S. Court of Appeals for the Second Circuit
BAR & COURT ADMISSIONS
                                                                   2016, U.S. District Court for the Central District of Illinois
1981, Wisconsin
                                                                   2016, U.S. District Court for the Southern District of Illinois
1981, U.S. Court of Appeals for the Ninth Circuit

1983, District of Columbia                                         HONORS & AWARDS
1983, District of Columbia Appellate Court                         Listed as Lawdragon 500 Leading Lawyers in America 2018

1984, United States Supreme Court                                  Super Lawyers List, Washington Law & Politics

1984, U.S. Court of Appeals for the Seventh Circuit                Avvo Top Tax Lawyer, Washington CEO Magazine

1984, U.S. Court of Appeals for the Fourth Circuit                 Trial Lawyer of the Year, Trial Lawyers for Public Justice

1984, U.S. Court of Appeals for the Tenth Circuit                  Salmon Dalberg Award

1985, U.S. Tax Court

1986, U.S. District Court for the Western District of
Washington



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PROFESSIONAL & CIVIC INVOLVEMENT
American Bar Association, Member

Bar Association of The District of Columbia, Member

Federal Bar Association, Member

King County Bar Association, Member

State Bar of Wisconsin, Member

Trial Lawyers for Public Justice, Member

Washington State Bar Association, Member

Washington State Trial Lawyers Association, Member

American Association for Justice, Member

Social Venture Partners of Santa Barbara, Founding Partner

The Association of Trial Lawyers of America, Member

American Academy of Trial Counsel, Fellow

Editorial Board, Washington State Securities Law Deskbook


SELECTED PUBLICATIONS
Thomson/West Webinar, “Stock Drop and Roll: Key
Supreme Court Rulings and New Standards in ERISA ‘Stock
Drop’ Cases,” July 24, 2014

14th Annual Pension Law, Governance and Solvency
Conference, 2013

Canadian Institute’s 14th Annual Advanced Forum on
Pension Law, Governance and Solvency, 2013

ERISA Litigation & Regulatory Compliance Congress, 2013

American Conference Institute’s 6th National Forum on
ERISA Litigation, 2013

25th Annual ERISA Litigation Conference, 2012

American Conference Institute’s 5th National Forum on
ERISA Litigation, 2012




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                                     Laurie Ashton is Of Counsel to Keller Rohrback. Prior to becoming Of
                                     Counsel, she was a partner in the Phoenix affiliate of Keller Rohrback. Early in
                                     her career, as an Adjunct Professor, she taught semester courses in Lawyering
                                     Theory and Practice and Advanced Business Reorganizations. She also served
                                     as a law clerk for the Honorable Charles G. Case, U.S. Bankruptcy Court, for the
                                     District of Arizona for two years.

                                     In complex litigation, Laurie was the lead attorney for Keller Rohrback in
                                     a series of successful groundwater contamination suits brought in 1996
                                     against multiple international defendants concerning chemical releases
                                     spanning over 60 years. She was also the lead attorney for Keller Rohrback
                                     in an ERISA class action suit on behalf of over 21,000 employees who lost a
                                     material percentage of their retirement assets at the hands of fiduciaries who
                                     maintained the investment of those assets in their own declining company
LAURIE ASHTON                        stock—a case that was, at its time, amongst the largest of its kind in the nation.
                                     Laurie has led or been a member of the team leading numerous high profile
CONTACT INFO                         business reorganizations, including a case in which the Court confirmed a
3101 North Central Avenue, Suite     reorganization plan over the objection of the international life insurance
1400                                 company’s feasibility expert, based on Laurie’s cross examination.
Phoenix, AZ 85012
                                     Laurie has been active in the State Bar of Arizona where she served on the
(602) 248-0088                       Ethics Committee for six years. She was also the coauthor of a textbook on
lashton@kellerrohrback.com           limited liability companies and partnerships, published by West, and is AV
                                     rated by Martindale.
PRACTICE EMPHASIS                    An important part of Laurie’s international work involves the domestic and
•   Business Reorganizations         international legal implications of treaty obligations and breaches. She is lead
•   Class Action & Consumer          counsel for The Republic of the Marshall Islands in its federal court treaty
    Litigation                       breach suit against the United States, and a member of the international
                                     legal team representing the Marshall Islands in three cases pending at the
•   Constitutional Law
                                     International Court of Justice in The Hague, against the United Kingdom,
•   Employee Benefits and            India and Pakistan. For this work, Laurie is part of the legal team that the
    Retirement Security              International Peace Bureau has nominated, along with the former Foreign
•   Fiduciary Breach                 Minister of the Marshall Islands, for the 2016 Nobel Peace Prize.
•   International Law                Laurie is frequently interviewed and has been cited by Reuters, Newsweek, Fox
                                     News, Huffington Post, Slate Magazine, Radio New Zealand, Radio Australia,
EDUCATION                            and others. She currently serves as a Trustee of the Santa Barbara Foundation,
University of California, San        a member of the Human Rights Watch Committee in Santa Barbara, and as
Diego                                a Director of the Global Justice Center in New York, which advances human
B.A., 1987, Economics                rights pursuit to various international laws, including the Geneva and
                                     Genocide Conventions, as well as customary international law.
Arizona State University College
of Law
J.D., 1990, Order of the Coif;
Member, Arizona State Law Journal,
1988-1990; Note and Comment
Editor, Arizona State Law Journal,
1989-1990; Student Instructor,
Legal Research and Writing, 1989-
1990.

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BAR & COURT ADMISSIONS                                        PUBLICATIONS & PRESENTATIONS
1990, Arizona                                                 Author, Case Note, Arizona Mortgage and Deed of Trust
                                                              Anti-Deficiency Statutes: The Underlying Obligation on a Note
1999, Colorado
                                                              Secured By Residential Real Property After Baker v. Gardner,
2007, Washington, D.C.                                        21 Ariz. St. L.J. 465, 470 (1989).

2013, Eastern District of Michigan                            Co-Author, Arizona Legal Forms: Limited Liability Companies
                                                              and Partnerships (1996-2004).
U.S. Court of Appeals for the Sixth Circuit
                                                              Guest Lecturer, Harvard Law School, 1997, 1999, 2001-
U.S. Court of Appeals for the Ninth Circuit s                 2002.
U.S. Court of Appeals for the Tenth Circuit                   Guest Lecturer, Stanford Law School, 2003.
U.S. Supreme Court                                            Speaker, United Nations 2015 Review Conference of the
                                                              Parties to the Treaty on the Non-Proliferation of Nuclear
                                                              Weapons; Panel, Marshall Islands Nuclear Zero Lawsuits
PROFESSIONAL & CIVIC
                                                              Speaker, Humanity House, The Hague, “Legal Obligations
INVOLVEMENT                                                   for Nuclear Disarmament,” March 2016.
State Bar of Arizona, Member                                  Speaker, Bertha Von-Suttner Master Class, The Peace
Colorado Bar Association, Member                              Palace, The Hague, “Forward Into Light, The Barbarization of
                                                              the Sky.”
Washington, D.C. Bar Association, Member
Adjunct Professor of Law, Advanced Chapter 11, Arizona
State University, 1996
Adjunct Professor of Law, Lawyering Theory & Practice,
Arizona State University, 1997
Committee on the Rules of Professional Conduct (“Ethics
Committee”), State Bar of Arizona, Member, 1997-2003
Court Appointed Special Advocate, King County, 2007-2009
Santa Barbara Foundation, Trustee
Global Justice Center, New York, Director
Human Rights Watch Committee, Santa Barbara, Member




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                                     Alison Gaffney is a fighter. Once she takes on a client—as a member of
                                     Keller Rohrback’s nationally recognized Complex Litigation Group or as
                                     a cooperating attorney with the ACLU—she commits to doing everything
                                     she can to fight for justice for her client.

                                     That tenacity was evident in her pursuit to reunite Somali refugee Joseph
                                     Doe with his family after their separation was prolonged because of the
                                     Muslim Travel Ban. Alison is a member of the team that sued the Trump
                                     Administration on behalf of Doe and other individuals and organizations
                                     harmed by the bans in Doe, et al. v. Donald Trump, et al. (W.D. Washington).
                                     Recently, she was honored to witness Doe’s joyous reunion with his wife and
                                     three sons in Seattle.

ALISON GAFFNEY                       Alison is passionate about using litigation to combat complex world problems.
                                     At Keller Rohrback, she is representing city and county governments, including
                                     King, Pierce, and Skagit counties, in their fight to hold prescription opioid
CONTACT INFO                         manufacturers accountable for the devastating effects these drugs have had
1201 Third Avenue, Suite 3200        on their communities. Not only is Alison committed to stopping the spread
                                     of addiction, but she’s also fighting to make sure that local governments get
Seattle, WA 98101
                                     all the resources they need to provide their citizens recovering from opioid
(206) 623-1900                       addiction a meaningful second chance.
agaffney@kellerrohrback.com          Alison is a thorough researcher who leaves no stone unturned when
                                     investigating possible outcomes for the employees and consumers she
PRACTICE EMPHASIS                    represents in a variety of claims. She litigated both individual and class action
•   Class Actions                    claims on behalf of consumers harmed by drug manufacturer Eli Lilly’s failure
                                     to accurately represent the risk of severe withdrawal from the drug Cymbalta,
•   Consumer & Data Privacy
                                     and she is currently fighting to help patients who’ve suffered an amputation
    Protection
                                     after taking the prescription drug Invokana. Alison also represents a proposed
•   Employee Benefits &              class of employees alleging ERISA violations in Dolins v. Continental Casualty
    Retirement Security
                                     Company (N.D. Illinois) and a proposed class of consumers with defective
                                     smartphones in Kessler v. Samsung Electronics America, Inc. (E.D. Wisconsin). She
EDUCATION
                                     connects with her clients as people, not case numbers.
Swarthmore College
                                     Both before and during law school, Alison’s passion for justice and human
B.A., 2002, Linguistics and          rights drew her to immigration law and policy. She completed a master’s
Languages (Spanish & Mandarin        degree focused on international migration, and as a law student, she interned
Chinese); McCabe Scholar
                                     with the Seattle Immigration Court and the Northwest Immigrant Rights
University of California, San        Project (NWIRP) in Tacoma, where she gave “Know Your Rights” presentations
Diego
                                     at the Northwest Detention Center. She represented clients in deportation
M.A., 2007, Latin American Studies   proceedings through NWIRP as well as the law school’s Immigration Law Clinic,
(International Migration)            and she continues to volunteer as a pro bono attorney for NWIRP.
University of Washington
                                     When she is not fighting for her clients, Alison is busy keeping up with her two
School of Law
                                     young sons, scrambling with The Mountaineers, and generally enjoying the
J.D., 2012                           beauty of the Pacific Northwest.


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BAR & COURT ADMISSIONS
2012, Washington

2013, U.S. District Court for the Western District of
Washington

2015, U.S. District Court for the Eastern District of
Washington

2016, U.S. District Court for the Central District of Illinois

2013, U.S. Court of Appeals for the Second Circuit

2014, U.S. Court of Appeals for the Ninth Circuit

2016, U.S. District Court for the Eastern District of
Wisconsin


PROFESSIONAL & CIVIC
INVOLVEMENT
ACLU Cooperating Attorney

Washington State Bar Association, Member

King County Bar Association, Member

Mother Attorneys Mentoring Association of Seattle
(MAMAS), Member

Northwest Immigrant Rights Project, Pro Bono Attorney


LANGUAGES
Spanish




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                                    Laura R. Gerber is a strong advocate for her clients. From her early
                                    years in a whistleblower protection organization, to her current practice
                                    litigating against some of America’s largest corporations, Laura has built her
                                    career as an advocate on behalf of both employees and customers of large
                                    corporations. Laura represents her clients with skill, tact and diplomacy. As a
                                    result, Laura’s clients trust her to listen carefully, keep them informed, provide
                                    excellent legal advice, and to diligently pursue their interests in litigation
                                    against powerful defendants.

                                    For over a decade, Laura has practiced in Keller Rohrback’s Complex Litigation
                                    Group where she has developed a diverse practice with a focus on holding
                                    banks and other institutions accountable to their customers and employees.
                                    She has experience litigating mutual fund excessive fee cases, Ponzi scheme
LAURA R. GERBER                     cases, breach of contract and breach of fiduciary duty cases, Employee
                                    Retirement Income Security Act (“ERISA”) cases, and consumer protection class
CONTACT INFO
                                    actions. Laura’s strategic persistence in complex cases has led to impressive
1201 Third Avenue, Suite 3200       results with certain of her clients receiving substantial individual recoveries.
Seattle, WA 98101
                                    While in law school, Laura concurrently received a Master’s degree in Public
(206) 623-1900                      Administration and was a member of the Moot Court Honor Board.
lgerber@kellerrohrback.com
                                    BAR & COURT ADMISSIONS
PRACTICE EMPHASIS
                                    2004, Washington
•   Consumer Protection
                                    2006, U.S. District Court for the Eastern District of Washington
•   Employee Benefits &
    Retirement Security             2006, U.S. District Court for the Western District of Washington

•   Fiduciary Breach                2010, U.S. District Court for the Northern District of Illinois

•   Financial Products & Services   2013, U.S. District Court for the District of Colorado

•   Institutional Investors         2016, U.S. District Court for the Southern District of Illinois

•   Whistleblower                   2016, U.S. District Court for the Eastern District of Missouri
                                    2016, U.S. District Court for the Northern District of Ohio
EDUCATION                           2016, U.S. District Court for the Western District of Oklahoma
Goshen College                      2006, U.S. Court of Appeals for the Ninth Circuit Court
B.A., 1994, History, Economics      2014, U.S. Court of Appeals for the Sixth Circuit Court
University of Washington            2015, U.S. Court of Appeals for the Tenth Circuit Court
School of Law
J.D., 2003
                                    HONORS & AWARDS
Evans School of Public Affairs,
University of Washington            Selected to Rising Stars list in Super Lawyers - Washington, 2009, 2013.

M.P.A., 2003




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PROFESSIONAL & CIVIC
INVOLVEMENT
Washington Appleseed, Board of Directors, 2012-present
King County Bar Association, Member
Washington State Bar Association, Member
American Bar Association, Member
Mother Attorney Mentoring Association (MAMAS), Member


PUBLICATIONS & PRESENTATIONS
Speaker, American Conference Institute’s 8th National
Forum on ERISA Litigation, October 2014, (New Trends in
Church Plan Litigation).
L. Gerber and R. Giovarelli, Land Reform and Land Markets
in Eastern Europe, Food and Agriculture Organization of the
United Nations (2005).
David Weissbrodt, Penny Parker, Laura Gerber, Muria
Kruger, Joe W. (Chip) Pitts III, A Review of the Fifty-Fourth
Session of the Sub-Commission on the Promotion and
Protection of Human Rights, 21 NETH Q. HUM. RTS. 291
(2003)




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                                      Matthew Gerend practices in the firm’s nationally recognized Complex
                                      Litigation Group, representing employees and other investors in litigation
                                      to enforce securities laws and the Employee Income Retirement Security Act
                                      (“ERISA”). Matt has represented plaintiffs in federal courts across the country
                                      to redress harms stemming from breaches of fiduciary duties, investment
                                      fraud, and other misconduct that threatens employees’ retirement security.

                                      Matt became interested in the laws protecting retirement and pension
                                      benefits as a clerk with AARP Foundation Litigation, where he helped draft
                                      a number of amicus curiae briefs filed in the U.S. Supreme Court and U.S.
                                      Courts of Appeals regarding the proper interpretation and implementation of
                                      ERISA. During law school, Matt also worked as an intern with the Community
                                      Development Project at the Lawyers’ Committee for Civil Rights Under Law.
MATTHEW GEREND                        Matt believes that lawyers have a unique ability to effect social change, an
                                      ethic that has guided his work representing individuals and investors against
CONTACT INFO                          those engaged in divisive and fraudulent practices.

1201 Third Avenue, Suite 3200
Seattle, WA 98101
                                      BAR & COURT ADMISSIONS
                                      2010, Washington
(206) 623-1900
                                      2011, U.S. District Court for the Western District of Washington
mgerend@kellerrohrback.com
                                      2012, U.S. Court of Appeals for the Third Circuit
PRACTICE EMPHASIS                     2013, U.S. District Court for the Eastern District of Michigan
•   Class Action                      2014, U.S. Court of Appeals for the Sixth Circuit
•   Employee Benefits and             2014, U.S. Court of Appeals for the Ninth Circuit
    Retirement Security
                                      2015, U.S. Court of Appeals for the Seventh Circuit
•   Fiduciary Breach
                                      2015, U.S. District Court for the District of Colorado
•   Securities

EDUCATION
                                      PROFESSIONAL & CIVIC INVOLVEMENT
                                      Washington State Bar Association, Member
University of Wisconsin
B.A., with distinction, 2005,
Political Science, Phi Beta Kappa     HONORS & AWARDS
Georgetown University Law             Selected to Rising Stars list in Super Lawyers – Washington, 2014-2017
Center
J.D., cum laude, 2010; Executive      PUBLICATIONS & PRESENTATIONS
Articles Editor, Georgetown Journal
on Poverty Law and Policy             Contributing Author, Zanglein et. al., ERISA Litigation (Bloomberg BNA 2015).
                                      Deborah M. Austin and Matthew M. Gerend, The Scope and Potential of Section
                                      3 as Currently Implemented, 19 J. Affordable Housing & Commun. Dev. L. 89
                                      (2009).



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                                 Chris is a member of Keller Rohrback’s Complex Litigation and
                                 Bankruptcy Groups, representing debtors, creditors, Court-appointed
                                 committees, and asset purchasers in Chapter 11 reorganization proceedings
                                 and out-of-court workouts. Chris also has wide-ranging experience in complex
                                 commercial litigation from corporate restructuring to matters of breach of
                                 fiduciary duty, commercial bankruptcy, commercial real estate, contracts,
                                 patent infringement, and environmental insurance coverage.
                                 Together with colleagues he has represented clients as diverse as the
                                 committee of victims of clergy sexual abuse in the Chapter 11 reorganization
                                 of a Catholic diocese, a developer restructuring a portfolio of real property
                                 interests nationwide, and a national company acquiring a competitor’s assets
                                 in a bankruptcy-court-approved sale in California.
                                 A graduate of the great books liberal arts program at St. Johns’ College in Santa
CHRISTOPHER                      Fe, Chris earned his law degree from the University of New Mexico Law School
                                 magna cum laude in 1990. While his practice is centered in the Southwest,
GRAVER                           Chris represents clients in federal courts coast to coast.


CONTACT INFO                     BAR & COURT ADMISSIONS
3101 North Central Avenue        Arizona, 1990
Suite 1400                       United States District Court for the District of Arizona, 1990
Phoenix, Arizona 85012-2600      United States Bankruptcy Appellate Panel of the Ninth Circuit
(602) 248-0088                   United States Court of Appeals for the Ninth Circuit
cgraver@kellerrohrback.com
                                 PROFESSIONAL & CIVIC INVOLVEMENT
PRACTICE EMPHASIS                American Bankruptcy Institute, Member
•   Business Litigation          Arizona State Bar Association, Member
•   Bankruptcy and Creditors’    Maricopa County Bar Association, Member
    Rights

EDUCATION                        PUBLICATIONS & PRESENTATIONS
St. John’s College               “Confirming the Catholics: The Diocese of Tucson Experience, Norton
                                 Bankruptcy Law Advisor,” 2005.
B.A., 1976
                                 “Representing the Tort Claimants’ Committee in the Chapter 11 Case Filed by
University of New Mexico         the Roman Catholic Diocese of Tucson, prepared for the National Conference
J.D., magna cum laude, 1990      of Bankruptcy Judges,” 2005.
Order of the Coif                “Decoding the Code,” AzBusiness Magazine, 2005.
                                 Speaker, Maricopa County Bar Association presentation, New Bankruptcy Code:
                                 Changing the Way Creditors are Treated, 2006.




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                                    Ron Kilgard is a seasoned lawyer who understands that yesterday’s rule
                                    changes are just as important as the landmark cases decided decades
                                    ago. Ron has 35 years of experience in civil litigation. He knows that the
                                    substantive law changes slowly (at least most of the time!). However, the
                                    relevant rules and judges’ individual practices change almost daily, and they
                                    vary enormously from jurisdiction to jurisdiction and judge to judge. Balancing
                                    all of this is, for Ron, one of the many challenges and pleasures of law practice.

                                    Ron’s practice is focused primarily on commercial and financial matters.
                                    For the last 17 years, he has extensively litigated pension plan class actions,
                                    involving both plans regulated by the Employee Retirement Income Security
                                    Act (“ERISA”) and non-ERISA plans such as public plans and so-called “church
                                    plans.” Ron helped Keller Rohrback pioneer company stock ERISA litigation
RON KILGARD                         in the late 1990s and early 2000s, and he was part of the team that obtained
                                    settlements of over $265 million (in cash) in the Enron 401(k) litigation. In
                                    2017, after six years of litigation, Ron prevailed in an action challenging as
CONTACT INFO
                                    unconstitutional the cutbacks to the pensions of Arizona state court judges.
3101 North Central Avenue,
Suite 1400                          Ron is a Phoenix native. He clerked for the Honorable Mary M. Schroeder, U. S.
                                    Court of Appeals for the Ninth Circuit, in 1979-80 and has practiced in Phoenix
Phoenix, AZ 85012
                                    ever since. He was one of the lawyers who formed the Phoenix affiliate of
(602) 248-0088                      Keller Rohrback L.L.P. in November 2002. When not practicing law, he enjoys
RKilgard@kellerrohrback.com         reading on the porch of his 1915 house with his Golden Retriever.

PRACTICE EMPHASIS                   HONORS & AWARDS
•   Appeals                         Best Lawyers in America, 2017, ERISA practice.
•   Antitrust & Trade Regulation
•   Class Action                    PROFESSIONAL & CIVIC INVOLVEMENT
•   Constitutional Law              State Bar of Arizona, Member
•   Employee Benefits &
                                    District of Columbia Bar, Member
    Retirement Security
•   Fiduciary Breach                New York State Bar Association, Member

•   Financial Products & Services   National Immigrant Justice Center, Pro Bono Counsel

EDUCATION
Harvard College B.A., 1973,
History
Harvard Divinity School M.T.S.,
1975, Old Testament
Arizona State University College
of Law J.D., 1979, Editor-in
Chief, Arizona State Law Journal,
Armstrong Award (outstanding
graduate)


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BAR & COURT ADMISSIONS                                               PUBLICATIONS & PRESENTATIONS
1979, Arizona Supreme Court                                          Speaker, ABA Seminar, After Enron, 2006
1979, U.S. District Court for the District of Arizona                Speaker, Chicago Bar Association, Company Stock
                                                                     Litigation, 2006
1982, U.S. Court of Appeals for the Ninth Circuit
                                                                     Speaker, West LegalWorks ERISA Litigation Conference,
1995, U.S. Supreme Court
                                                                     2007
2005, U.S. Court of Appeals for the Second Circuit
                                                                     Speaker, National Center for Employee Ownership,
2005, U.S. Court of Appeals for the Fifth Circuit                    Fiduciary Implications of Company Stock Lawsuits, 2012 and
                                                                     2013
2007, U.S. District Court for the Eastern District of
Michigan                                                             Speaker, American Conference Institute, New Developments
                                                                     in Church Plan Litigation, 2015-2017
2009, District of Columbia Court of Appeals
2010, U.S. Court of Appeals for the Fourth Circuit
2010, U.S. District Court for the District of North Dakota
2011, New York Supreme Court, Appellate Division
2012, U.S. District Court for the Southern District of New
York
2013, U.S. District Court for the District of Colorado
2013, U.S. Court of Appeals for the Eighth Circuit
2014, U.S. Court of Appeals for the Sixth Circuit
2014, U.S. Court of Appeals for the Third Circuit
2015, U.S. Court of Appeals for the Seventh Circuit
2015, U.S. Court of Appeals for the Tenth Circuit
2016, U.S. District Court for the Southern District of Illinois
2016, U.S. District Court for the Western District of
Oklahoma
2016, U.S. District Court for the Eastern District of Missouri
2016, U.S. District Court of the Central District of Illinois
2016, U.S. District Court of the Northern District of Indiana




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                                      Havila Unrein gives her clients a voice in the legal system. Havila practices
                                      in Keller Rohrback’s nationally recognized Complex Litigation Group, where
                                      she is dedicated to helping clients who have been harmed by others engaged
                                      in fraud, cutting corners, and abuses of power.

                                      Havila made significant contributions to Hartman et al. v. Ivy Asset
                                      Management et al., a case involving fiduciary breach related to Madoff
                                      investments that resulted in a $219 million settlement with consolidated
                                      cases. She currently represents plaintiffs in multiple cases alleging violations of
                                      the Employee Retirement Income Security Act of 1974 (“ERISA”) by healthcare
                                      institutions attempting to claim exempt “church plan” status under ERISA.

                                      During law school, Havila provided tax and business advice to low-income
HAVILA C. UNREIN                      entrepreneurs and high-tech start-ups as a student in the Entrepreneurial Law
                                      Clinic. She also served as an extern to the Honorable Stephanie Joannides of
CONTACT INFO                          the Anchorage Superior Court. Prior to law school, Havila worked and studied
                                      abroad in Russia, Azerbaijan, and the Czech Republic.
1201 Third Avenue, Suite 3200
Seattle, WA 98101
                                      BAR & COURT ADMISSIONS
(206) 623-1900
                                      2008, Washington
hunrein@kellerrohrback.com
                                      2009, U.S. District Court for the Western District of Washington

PRACTICE EMPHASIS                     2012, Montana

•   Class Actions                     2012, U.S. Court of Appeals for the Ninth Circuit

•   Consumer Protection               2012, U.S. District Court for the District of Montana

•   Employee Benefits and             2013, California
    Retirement Security
                                      2013, U.S. District Court for the District of Colorado
•   Environmental Contamination
                                      2013, U.S. District Court for the Central District of California
•   Fiduciary Breach
                                      2013, U.S. District Court for the Eastern District of California
•   Financial Products and
    Services                          2013, U.S. District Court for the Northern District of California

•   Mass Personal Injury              2013, U.S. District Court for the Southern District of California
•   Securities                        2014, U.S. Court of Appeals for the Sixth Circuit
•   Whistleblower
                                      PROFESSIONAL & CIVIC INVOLVEMENT
EDUCATION                             California State Bar Association, Member
Dartmouth College
                                      Santa Barbara County Bar Association, Member
B.A., magna cum laude, 2003,
Russian Area Studies                  Washington State Bar Association, Member

University of Washington              King County Bar Association, Member
School of Law
                                      Montana State Bar Association, Member
J.D./LL.M. (Tax), with honors, 2008
                                      4830-1403-2249, v. 2


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